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 1                                                                       Judge Pechman
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 6

 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9

10   UNITED STATES OF AMERICA,                     )
                                                   )       NO. CR05-0071P
11                              Plaintiff,         )
                                                   )
12                     v.                          )       ORDER CONTINUING TRIAL
                                                   )
13   KEITH D. GILBERT and                          )
     SERGEY ZARODNYUK,                             )
14                                                 )
                                Defendants.        )
15                                                     )
16

17            The Court has considered the Stipulation executed by the parties pursuant to 18
18   U.S.C. § 3161(h)(8)(A) concerning a continuance of the trial in this case:
19            The Court finds that continuing the trial in this case is necessary in order to allow
20   defense counsel adequate time to investigate and effectively to prepare for trial.
21            The Court further finds, pursuant to 18 U.S.C. § 3161(h)(8)(A), that the ends of
22   justice served by continuing the trial in this case outweigh the interest of the public and of
23   the Defendants in a more speedy trial.
24            IT IS THEREFORE ORDERED that the trial in this case shall be continued until
25   December 5, 2005, and that the period of time from September 26, 2005, up to and including
26   December 5, 2005, shall be excludable time under 18 U.S.C. § 3161(h)(8)(A); and
27

28


                                                                                   UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     ORDER CONTINUING
                                                                                    SEATTLE, WASHINGTON 98101
     TRIAL/GILBERT (CR05-0071P) - 1                                                       (206) 553-7970
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 1                     IT IS FURTHER ORDERED that the deadline for filing pretrial motions in
 2   this case shall be September 30, 2005, and that responses to motions shall be due October 14,
 3   2005.
 4            DONE this 8th day of September, 2005.
 5

 6                                               /S/Marsha J. Pechman
                                                 MARSHA J. PECHMAN
 7                                               United States District Judge
 8   Presented by:
 9
     s/Andrew C. Friedman
10   ANDREW C. FRIEDMAN
     Assistant United States Attorney
11

12   s/C. Andrew Colasurdo
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